                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA                          Criminal no. 17-232 (ADC)
  Plaintiff,
                v.

JORGE CARRASQUILLO-ROSARIO
  Defendant.

                    MOTION TO MODIFY CONDITIONS OF PRE-TRAIL RELEASE

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Carrasquillo-Rosario, and respectfully states and prays as

follows:

       1.      On April 7, 2016, Mr. Carrasquillo was granted bail and was subsequently

released pending trial on the conditions that he abides by the conditions imposed by the U. S

Probation Office.

       2.      As informed during his detention hearing, and verified by the Pre-trial service

office, Mr. Carrasquillo is employed as a taxi driver. In said capacity, he takes his passengers to

various destinations within the jurisdiction, including the Luis Muñoz Marín International

Airport.

       3.      Condition number 7(f) of the Additional Conditions of Release state that Mr.

Carrasquillo “[s]hall not enter any airport or pier, unless authorized by PT Officer.” See docket

#9.

       4.      Although Mr. Carrasquillo is not technically entering any physical building nor

needs to enter any building when dropping off passengers at the Luis Muñoz Marín International

Airport, out of an abundance of caution, it is requested that the court allows Mr. Carrasquillo

access to the airport’s main road to perform his work duties.
       5.      Before filing said motion, counsel spoke with Mr. Carrasquillo’s assigned pre-

trial probation officer, Mrs. Katherine Valentín, who informed that she has no objection to the

current motion.

       WHEREFORE, it is respectfully requested that this Honorable Court to take note of this

Motion to Modify and authorizes Mr. Carrasquillo to drop-off passengers at the Luis Muñoz

Marín International Airport.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 22nd day of June 2017.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.

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